Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 1 of 116 PageID #:
                                     4981
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 2 of 116 PageID #:
                                     4982
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 3 of 116 PageID #:
                                     4983
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 4 of 116 PageID #:
                                     4984
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 5 of 116 PageID #:
                                     4985
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 6 of 116 PageID #:
                                     4986
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 7 of 116 PageID #:
                                     4987
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 8 of 116 PageID #:
                                     4988
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 9 of 116 PageID #:
                                     4989
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 10 of 116 PageID #:
                                     4990
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 11 of 116 PageID #:
                                     4991
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 12 of 116 PageID #:
                                     4992
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 13 of 116 PageID #:
                                     4993
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 14 of 116 PageID #:
                                     4994
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 15 of 116 PageID #:
                                     4995
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 16 of 116 PageID #:
                                     4996
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 17 of 116 PageID #:
                                     4997
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 18 of 116 PageID #:
                                     4998
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 19 of 116 PageID #:
                                     4999
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 20 of 116 PageID #:
                                     5000
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 21 of 116 PageID #:
                                     5001
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 22 of 116 PageID #:
                                     5002
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 23 of 116 PageID #:
                                     5003
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 24 of 116 PageID #:
                                     5004
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 25 of 116 PageID #:
                                     5005
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 26 of 116 PageID #:
                                     5006
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 27 of 116 PageID #:
                                     5007
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 28 of 116 PageID #:
                                     5008
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 29 of 116 PageID #:
                                     5009
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 30 of 116 PageID #:
                                     5010
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 31 of 116 PageID #:
                                     5011
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 32 of 116 PageID #:
                                     5012
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 33 of 116 PageID #:
                                     5013
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 34 of 116 PageID #:
                                     5014
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 35 of 116 PageID #:
                                     5015
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 36 of 116 PageID #:
                                     5016
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 37 of 116 PageID #:
                                     5017
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 38 of 116 PageID #:
                                     5018
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 39 of 116 PageID #:
                                     5019
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 40 of 116 PageID #:
                                     5020
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 41 of 116 PageID #:
                                     5021
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 42 of 116 PageID #:
                                     5022
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 43 of 116 PageID #:
                                     5023
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 44 of 116 PageID #:
                                     5024
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 45 of 116 PageID #:
                                     5025
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 46 of 116 PageID #:
                                     5026
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 47 of 116 PageID #:
                                     5027
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 48 of 116 PageID #:
                                     5028
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 49 of 116 PageID #:
                                     5029
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 50 of 116 PageID #:
                                     5030
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 51 of 116 PageID #:
                                     5031
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 52 of 116 PageID #:
                                     5032
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 53 of 116 PageID #:
                                     5033
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 54 of 116 PageID #:
                                     5034
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 55 of 116 PageID #:
                                     5035
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 56 of 116 PageID #:
                                     5036
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 57 of 116 PageID #:
                                     5037
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 58 of 116 PageID #:
                                     5038
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 59 of 116 PageID #:
                                     5039
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 60 of 116 PageID #:
                                     5040
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 61 of 116 PageID #:
                                     5041
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 62 of 116 PageID #:
                                     5042
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 63 of 116 PageID #:
                                     5043
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 64 of 116 PageID #:
                                     5044
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 65 of 116 PageID #:
                                     5045
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 66 of 116 PageID #:
                                     5046
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 67 of 116 PageID #:
                                     5047
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 68 of 116 PageID #:
                                     5048
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 69 of 116 PageID #:
                                     5049
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 70 of 116 PageID #:
                                     5050
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 71 of 116 PageID #:
                                     5051
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 72 of 116 PageID #:
                                     5052
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 73 of 116 PageID #:
                                     5053
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 74 of 116 PageID #:
                                     5054
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 75 of 116 PageID #:
                                     5055
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 76 of 116 PageID #:
                                     5056
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 77 of 116 PageID #:
                                     5057
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 78 of 116 PageID #:
                                     5058
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 79 of 116 PageID #:
                                     5059
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 80 of 116 PageID #:
                                     5060
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 81 of 116 PageID #:
                                     5061
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 82 of 116 PageID #:
                                     5062
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 83 of 116 PageID #:
                                     5063
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 84 of 116 PageID #:
                                     5064
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 85 of 116 PageID #:
                                     5065
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 86 of 116 PageID #:
                                     5066
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 87 of 116 PageID #:
                                     5067
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 88 of 116 PageID #:
                                     5068
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 89 of 116 PageID #:
                                     5069
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 90 of 116 PageID #:
                                     5070
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 91 of 116 PageID #:
                                     5071
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 92 of 116 PageID #:
                                     5072
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 93 of 116 PageID #:
                                     5073
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 94 of 116 PageID #:
                                     5074
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 95 of 116 PageID #:
                                     5075
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 96 of 116 PageID #:
                                     5076
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 97 of 116 PageID #:
                                     5077
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 98 of 116 PageID #:
                                     5078
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 99 of 116 PageID #:
                                     5079
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 100 of 116 PageID #:
                                      5080
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 101 of 116 PageID #:
                                      5081
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 102 of 116 PageID #:
                                      5082
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 103 of 116 PageID #:
                                      5083
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 104 of 116 PageID #:
                                      5084
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 105 of 116 PageID #:
                                      5085
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 106 of 116 PageID #:
                                      5086
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 107 of 116 PageID #:
                                      5087
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 108 of 116 PageID #:
                                      5088
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 109 of 116 PageID #:
                                      5089
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 110 of 116 PageID #:
                                      5090
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 111 of 116 PageID #:
                                      5091
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 112 of 116 PageID #:
                                      5092
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 113 of 116 PageID #:
                                      5093
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 114 of 116 PageID #:
                                      5094
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 115 of 116 PageID #:
                                      5095
Case 2:06-cv-06695-JS-SIL Document 224-15 Filed 06/02/12 Page 116 of 116 PageID #:
                                      5096
